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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,                          Criminal No. 22-cr-342 (SCC)
        Plaintiff,

                V.




 WANDA VAZQUEZ GARCED,
 JULIO M. HERRERA VELUTINI, and
 MARK T. ROSSINI
        Defendants.




                                   UNCLASSIFIED ORDER

       The Court, having carefully considered the United States' Supplemental Ex Parte, In


Camera, Under Seal Motion for a Protective Order ("Supp. Motion") filed in accordance with


Section 4 of the Classified Information Procedures Act, 18 U.S.C. App. Ill, § 4, and Fed. R. Crim.


P. 16(d)(l), and the accompanying memorandum of law and attachments thereto, hereby:


       GRANTS the Supp. Motion and directs the Clerk of Court to send a copy of this Order to


counsel for the Defendants and the United States;


       Accordingly, it is ORDERED that the Classified Information Security Officer shall deliver

a copy of the Court's Classified Order regarding the Supp. Motion to the United States;


       It is further ORDERED that, consistent with the Court's Classified Order, the United


States shall withhold from discovery certain classified information and, as set forth in the Motion,


provide the Defendants with unclassified substitutions in place of certain other classified


information.


 Dated: February 28, 2024


                                                         ^ILVIA L. CARRENO-COLL
                                                         UNITED STATES DISTRICT JUDGE
